Case 3:17-cv-OO702-B.]D-.]RK Document 16 Filed 10/23/17 Page 1 of 2 Page|D 80

UN|TED STATES D|STR|CT COURT
M|DDLE D|STR|CT OF FLOR|DA
JACKSONVILLE D|V|SION
EZELLA GREEN,
P|aintiff,
v. Case No. 3:17-cv-702-J-39JRK
HYUNDA| CAP|TAL AMER|CA, |NC.,

Defendant.
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0 R D E R
TH|S CAUSE is before the Court on the Joint |Vlotion to Stay Pending Arbitration

(Doc. 15; Motion) filed on October 20, 2017. |n the Motion, the parties agree to submit
this matter to binding arbitration pursuant to their arbitration agreement See generally
I\/|otion at 1. According|y, it is
ORDERED:

1. The Joint Motion to Stay Pending Arbitration (Doc. 15) is GRANTED.

2. The parties are directed to submit all claims to arbitration pursuant to the
Federal Arbitration Act, 9 U.S.C. § 1 e_t. M

3. This case is hereby STAYED pending the completion of the arbitration
proceedings The C|erk of Court is directed to terminate any pending motions and
administratively close the tile pending notification from the parties that the case is due to
be reopened or dismissed

4. The parties shall file a joint status report upon the conclusion of the

arbitration. |f the arbitration is not completed by February 26, 2018, then the parties shall

Case 3:17-cv-OO702-B.]D-.]RK Document 16 Filed 10/23/17 Page 2 of 2 Page|D 81

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file a status report at that time and every 120 days thereafter until the arbitration is
completed..

' or
DONE and ORDERED in Jacksonvil|e, F|orida this 2 5 day of October, 2017.

BRlAN J. DAvls V
United States District Judge

va
Copies furnished to:
Counse| of Record

